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YurowitzLaw PLLC
                                                                                  STEVEN Y. YUROWITZ
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                                                                                     WILLIAM J. DOBIE

                                                              October 9, 2024

  By ECF
  Hon. Robert Kirsch
  Unites States District Court
  District of New Jersey
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street
  Trenton, New Jersey 08608

                                               Re: United States v. Aron Puretz
                                                   24-cr-398 (RK)
  Dear Judge Kirsch:

          This firm represents Aron Puretz, the defendant in the above-referenced matter. Pursuant
  to Rule 32(b)(2) and (e)(2), I am writing to respectfully request an extension of the 14-day time
  period to object to the PSR, and for an adjournment of Mr. Puretz’s sentencing currently scheduled
  for October 30. This is the first request for an extension in this matter.

          On October 1, 2024, less than 35 days prior to sentencing, the draft of the PSR was filed
  on the docket. Counsel who at the time was in California for the birth of a grandchild and the
  upcoming Rosh Hashana holiday that commenced on the eve of October 2, 2024, was unable to
  access the report from the ECF system and only received it from the Probation Office on October
  7, 2024. Even a cursory review of the draft PSR demonstrates that counsel will need to make
  extensive objections to the PSR which calculates an offense level that significantly departs from
  the calculation set forth in the parties’ plea agreement. Due to the intervening and upcoming
  Jewish Holidays (including the 9-days of Sukkot), that task will be particularly difficult to
  competently accomplish by the current deadline. As a result, counsel requests that his time to
  object to the PSR be adjourned until October 31, 2024.

         In light of the foregoing request, counsel also requests that Mr. Puretz’s sentencing be
  adjourned until at least the beginning of December, at a time convenient for the Court.

         I have communicated with counsel for the government in this matter, and he indicated that
  the government takes no position with respect to this request.

                                                      Respectfully submitted,




                                                      Steven Y. Yurowitz
  cc: AUSA Babasijibomi Moore (by ECF)


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